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. .“%§m&<f‘ewnr 28, 2017
d;)§;;`simm c-F e.eAss.

CERTIFIED MAIL:
RETURN RECEIPT REQUESTED
NO. 7001-2510-0006-4197-2920

WILLIAM WEINREB

ACTING UNITED STATES ATTORNEY

FOR THE DISTRICT OF MASSACHUSETTS
UNITED STATES COURTHOUSE

1 COURTHOUSE WAY, SUITE 9200
BOSTON, MASSACHUSETTS 02210

ln Re: Criminal Complaint(s)
Falsifying Court Documents to Committ Perjury;

Obstruction of Justice.

Dear Mr. weinreb;

Please find enclosed a Motion of Recusal of Federal Judge
Saylor IV in a pending habeas corpus, no. 17-11778~FDS.
The shocking revelations that your office will deem will shock
yoiu. The petitioner is sitting in state prison since June of
2017 because of state agents falsifying Court documents to
committ poerjury, and the federal judge has no problem with
that.

To put it bluntly, the federaljudge is seriously mentally
ill and not qualify to be a federal judge.

I await your response, before I go to Washingtou.

      

ames er Kyricopoulos,
petitioner, pro-se
presently incarcerated at:

OCCC-Minimum Security

ease 1:17-cv-11778-FDS""’Db`cumem 30 Filed 01/02/18 Page 2 of 4

 

 

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One Administration Road
Bridgewater, Mass. 02324

JPK

enclosures

cc: U.S.D.J. F Dennis Saylor IV
Chief Judge Patti Saris

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